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LAW OFFICE OF RONALD L. KUBY

ATTORNEYS AT LAw
(19 West 238 STREET, SUITE 9OO
New York, New York [O01 |

TELEPHONE: (212) 529-0223

Ronato L. KuBy ' STAFF
RHIYA TRIVEDI Fax: (212) 529-0644 SUSAN BAILEY

WWW. KUBYLAW.COM

 

Process SERVER

OF COUNSEL Luis R. AYALA 1952-2012
GEORGE WACHTEL
LEAH Bussy
September 15, 2021

Hon. Loretta A. Preska

United States District Judge
Southern District of New York
500 Pearl Street

New York, NY 10007

Via ECF

Re: United States v. Donziger, No. 19-cr-561 (LAP), 11-civ-691 (LAK)
Dear Judge Preska:

To a hammer, everything looks like a nail. And to a prosecutor, a defendant’s history and
character are reduced solely to the conduct that resulted in his conviction. Indeed, in the Prosecution’s
Sentencing Memorandum, Mr. Donziger’s life receives scant attention outside of this criminal case.

Filed herewith are three letters from distinguished and accomplished members of the bar, who
have known Steven Donziger for a combined eighty-years. They shed light on his integrity, courage, and
intense desire to make the world better.

Because these letters are coming in daily, and hecause time is short, T will be submitting them to
the Court on a regular basis. Our Sentencing Memorandum will incorporate them by reference.

Sincerelty,

——————

Ronald L. Kuby

Exhibit A: Jochnick Letter
Exhibit B: Small Letter
Exhibit C: Whitson letter
